                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION
                                  Case No. 7:23-cv-897

IN RE:                                        )
                                              )        PLAINTIFFS’ SUBMISSION FOR
CAMP LEJEUNE WATER LITIGATION                 )            TRACK 3 DISEASES
                                              )
This Document Relates To:                     )
ALL CASES                                     )


         Plaintiffs’ Leadership Counsel respectfully makes this submission regarding Track 3 Disease

selection pursuant to Case Management Order 2 (“CMO #2”):

         1.     On September 26, 2023, in CMO #2, the Court designated the five Track 1 diseases:

bladder cancer, kidney cancer, leukemia, Parkinson's disease, and non-Hodgkin's lymphoma. Doc.

23, p. 8.

         2.     Under CMO #2, the Court further instructed that within 60 days of entry of CMO #2,

the parties would submit to the Court the agreed-upon group or competing groups of diseases for

Track 2. Doc. 23, pp. 11-12.

         3.     On November 27, 2023, the parties filed competing Track 2 proposals. The Plaintiffs

requested the following five illnesses for Track 2: “(1) liver cancer, (2) sclerosis / scleroderma, (3)

multiple myeloma, (4) kidney disease (i.e., end-stage renal disease, chronic kidney disease, increased

kidney weight, or increased urinary protein tubular toxicity), and (5) aplastic anemia.” Doc. 58. The

Defendant requested the following five illnesses for Track 2: “(1) prostate cancer, (2) breast cancer,

(3) lung cancer, (4) pancreatic cancer, and (5) esophageal cancer.” Doc. 56.

         4.     The Court has not yet ruled on the parties’ competing proposals for the Track 2

illnesses.



                                                  1

              Case 7:23-cv-00897-RJ Document 97 Filed 12/27/23 Page 1 of 5
         5.     Under CMO #2, “[w]ithin 30 days after proposing Track 2 conditions, Lead Counsel,

the Government Liaison, counsel for Defendant, or their designees shall submit to the Court an agreed

upon group or competing groups of five additional illnesses for the purposes of Track 3.” Doc. 23,

p. 12.

         6.     The parties have met and conferred but have been unable to come to an agreement

regarding Track 3 Diseases. Plaintiffs’ proposal is stated below.

         7.     Plaintiffs respectfully request that the Court approve the following:

                a. Plaintiff’s proposed selection for Track II diseases. (liver cancer, sclerosis /
                   scleroderma, multiple myeloma, kidney disease (i.e., end-stage renal disease,
                   chronic kidney disease, increased kidney weight, or increased urinary protein
                   tubular toxicity), and aplastic anemia)

                b. Defendants’ proposed Track II diseases be used for the Track III diseases, but
                   substitute “childhood leukemia” for “pancreatic cancer.”


This would make the selections by Plaintiff’s Leadership and the Defendant the same, except for the

request for substitution of “childhood leukemia” for “pancreatic cancer.” 1

         Plaintiffs do not agree with Defendants’ proposals described in Defendant’s separate

submission for modifying procedures for Track 3 diseases or otherwise. Rather, Plaintiffs believe

that the Court should continue to use its existing procedures to ensure there is no further delay.

Additionally, Plaintiffs do not believe that medical monitoring would be an appropriate Track

disease but should be part of the damage criteria for all Plaintiffs. In further support, Plaintiffs

respectfully direct the Court to their response to Defendant’s similar contentions made in the

parties’ notice of filing regarding Track 2 diseases dated November 27, 2023, Doc. 58, at pp. 4-7. In

addition, certain of Defendants’ contentions such as for additional time are also found in


1
 Pancreatic Cancer may have additional scientific support in the 2023 ATSDR Cancer Incident
Study, which has not yet been released. Pancreatic Cancer should not be selected as a Track disease
until the study has been released.

                                                    2

              Case 7:23-cv-00897-RJ Document 97 Filed 12/27/23 Page 2 of 5
Defendant’s motion filed on December 26, 2023, Doc. 95, to which Plaintiffs will be responding in

due course.




        Respectfully submitted this 27th day of December, 2023.

  /s/ J. Edward Bell, III                             /s/ Zina Bash
  J. Edward Bell, III (admitted pro hac vice)         Zina Bash (admitted pro hac vice)
  Bell Legal Group, LLC                               Keller Postman LLC
  219 Ridge St.                                       111 Congress Avenue, Suite 500
  Georgetown, SC 29440                                Austin, TX 78701
  Telephone: (843) 546-2408                           Telephone: 956-345-9462
  jeb@belllegalgroup.com                              zina.bash@kellerpostman.com

  Lead Counsel for Plaintiffs                         Co-Lead Counsel for Plaintiffs and
                                                      Government Liaison Counsel

  /s/ Elizabeth J. Cabraser                           /s/ W. Michael Dowling
  Elizabeth J. Cabraser (admitted pro hac vice)       W. Michael Dowling (NC Bar No. 42790)
  Lieff Cabraser Heimann & Bernstein, LLP             The Dowling Firm PLLC
  275 Battery Street, 29th Floor                      Post Office Box 27843
  San Francisco, CA 94111                             Raleigh, North Carolina 27611
  Telephone: (415) 956-1000                           Telephone: (919) 529-3351
  ecabraser@lchb.com                                  mike@dowlingfirm.com

  Co-Lead Counsel for Plaintiffs                      Co-Lead Counsel for Plaintiffs

  /s/ Robin L. Greenwald                               /s/ James A. Roberts, III
  Robin L. Greenwald (admitted pro hac vice)          James A. Roberts, III (N.C. Bar No.:
  Weitz & Luxenberg, P.C.                             10495)
  700 Broadway                                        Lewis & Roberts, PLLC
  New York, NY 10003                                  3700 Glenwood Avenue, Suite 410
  Telephone: 212-558-5802                             P. O. Box 17529
  rgreenwald@weitzlux.com                             Raleigh, NC 27619-7529
                                                      Telephone: (919) 981-0191
  Co-Lead Counsel for Plaintiffs                      jar@lewis-roberts.com

                                                      Co-Lead Counsel for Plaintiffs




                                                  3

              Case 7:23-cv-00897-RJ Document 97 Filed 12/27/23 Page 3 of 5
s/    Mona Lisa Wallace
 Mona Lisa Wallace (N.C. Bar No.: 009021)
 Wallace & Graham, P.A.
 525 North Main Street
 Salisbury, North Carolina 28144
 Tel: 704-633-5244
 mwallace@wallacegraham.com

 Co-Lead Counsel for Plaintiffs




                                            4

          Case 7:23-cv-00897-RJ Document 97 Filed 12/27/23 Page 4 of 5
                              CERTIFICATE OF SERVICE

       I hereby certify that on December 27, 2023, a copy of the foregoing was filed via the
Court’s ECF system and served on counsel of record through the ECF system and can be
accessed through that system.

                            /s/ J. Edward Bell, III
                              J. Edward Bell, III (admitted pro hac vice)
                              Bell Legal Group, LLC
                              219 Ridge St.
                              Georgetown, SC 29440
                              Telephone: (843) 546-2408
                              jeb@belllegalgroup.com

                             Lead Counsel for Plaintiffs




                                              5

         Case 7:23-cv-00897-RJ Document 97 Filed 12/27/23 Page 5 of 5
